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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

TIMOTHY KING, et.al.,                      Case No. 20-cv-13134
    Plaintiffs,                            Hon. Linda V. Parker

v.

GRETCHEN WHITMER, in her official capacity
as Governor of the State of Michigan, et.al.,
     Defendants,

and

ROBERT DAVIS,
     Intervenor Defendant.
__________________________________________________________________/
GREGORY J. ROHL (P39185)                   HEATHER S. MEINGAST (P55439)
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__________________________________________________________________/

  INTERVENOR DEFENDANT ROBERT DAVIS’ MOTION TO
EXPEDITE BRIEFING, SCHEDULING AND ADJUDICATION OF
 INTERVENOR DEFENDANT ROBERT DAVIS’ EMERGENCY

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 MOTIONS TO STRIKE PLAINTIFFS’ AMENDED COMPLAINT
[6] AND EMERGENCY MOTION FOR TRO [7] (ECF NOS. 42, 45).


      NOW COMES, INTERVENOR DEFENDANT ROBERT DAVIS,

by and through his attorney, ANDREW A. PATERSON, and for his

Motion to Expedite the Briefing, Scheduling and Adjudication of

Intervenor Defendant Robert Davis’ Amended/Corrected Emergency

Motion to Strike Plaintiffs’ Amended Complaint [6] (ECF No. 42) and

Emergency Motion to Strike Plaintiffs’ Emergency Motion for TRO [7]

(ECF No. 45), states the following:

      Intervenor Defendant Robert Davis respectfully asks this Court to

expedite the briefing, scheduling and adjudication of Intervenor

Defendant Robert Davis’ Amended/Corrected Emergency Motion to

Strike Plaintiffs’ Amended Complaint [6] (ECF No. 42) and Emergency

Motion to Strike Plaintiffs’ Emergency Motion for TRO [7] (ECF No.

45). Expedited scheduling and briefing is necessary because

Plaintiffs’ Emergency Motion for TRO (ECF No. 7), which is

based solely on the facts pled and alleged in Plaintiffs’

improperly filed amended complaint (ECF No. 6), is currently

pending before the Court for expedited adjudication. However,


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if the Court determines and concludes that Plaintiffs’ amended

complaint (ECF No.6) was not properly filed in accordance with

Fed.R.Civ.P. 15(a)(1),(2), the Court will not have to issue a

written opinion adjudicating Plaintiffs’ Emergency Motion for

TRO (ECF No. 7) because the Court would be obligated to strike

Plaintiffs’ amended complaint (ECF No. 6) and Emergency

Motion for TRO (ECF No. 7) from the record.

      Intervenor Defendant Robert Davis acknowledges that, in the

ordinary course of events, the Eastern District of Michigan’s Local

Court Rules, allow 14 days for a response to a nondispositive motion

and another 7 days for the filing of a reply. While that schedule is

appropriate for almost all matters, here, in light of the fact that

Plaintiffs’ Emergency Motion for TRO (ECF No. 7) is currently pending

before the Court and has been fully briefed by all of the parties in

accordance with the Court’s briefing schedule (ECF No. 24), prompt

adjudication of Intervenor Defendant Davis’ instant motion is necessary

to prevent the Court from spending a considerable amount of time

adjudicating a matter that arguably is not properly before the Court.




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      Thankfully, the Local Rules for the Eastern District of Michigan

anticipate exceptions. Local Rule 1.2 explains:

            For good cause shown, for a particular matter, any Judge of
            this Court may temporarily suspend the operation of the
            Rules.

      More specifically related to the case at bar, a comment to Local Rule

7.1(e), advises as follows: “The court retains the inherent authority to

alter the briefing schedule.” This guidance is a logical extension of the

basic principle that the court is always empowered to manage its docket.

“With good reason, district courts ordinarily enjoy broad discretion in

matters of pretrial management, scheduling, and docket control.” Kimble

v Hoso, 439 F.3d 331, 2226 (6th Cir. 2006).

      Here, as noted, Intervenor Defendant Robert Davis is confronted

with the precise reason the exception exists considering the Court is

currently considering Plaintiffs’ Emergency Motion for TRO (ECF No. 7),

which is based solely on facts pled and alleged in an amended complaint

(ECF No. 6) that was not properly filed in accordance with the

Fed.R.Civ.P. 15(a)(1),(2). Accordingly, Intervenor Defendant Robert

Davis proposes the following briefing and hearing schedule for his

pending Emergency Motions to Strike (ECF Nos. 42, 45):


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            • Plaintiffs’, Defendants’ and Intervenor Defendants’
              Responses due Friday, December 4, 2020 by Noon.
            • Intervenor Defendant Robert Davis’ Reply due, Friday,
              December 4, 2020 by 3 p.m.
            • No hearing is required. The Court can render a decision
              on the briefs and without argument on Friday, December
              4, 2020.

      Intervenor Defendant Robert Davis realizes that the relief sought

is extraordinary, but these unusual circumstances warrant this special

consideration. Accordingly, Intervenor Defendant Robert Davis would

like to thank this Honorable Court for the opportunity to brief this

important issue.

Dated: December 3, 2020            Respectfully submitted,

                                   /s/ ANDREW A. PATERSON
                                   ANDREW A. PATERSON (P18690)
                                   Attorney for Intervenor Defendant
                                   Robert Davis
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                     CERTIFICATE OF SERVICE

      I, ANDREW A. PATERSON, certify that forgoing document(s) was

filed and served via the Court's electronic case filing and noticing

system (ECF) this 3rd day of December, 2020, which will automatically

send notification of such filing to all attorneys and parties of record

registered electronically.

Dated: December 3, 2020            Respectfully submitted,

                                   /s/ ANDREW A. PATERSON
                                   ANDREW A. PATERSON (P18690)
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